Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 1 of 7
                                                                                         Exhibit A



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-00477

 PARABLE, an unincorporated nonprofit association, on behalf of itself and its members;
 RON HANKS,
 LAUREL IMER,
 DAVID PETERS,
 CHARLES W. “CASPER” STOCKHAM,
 JOANN WINDHOLZ,

        Plaintiffs,
 v.

 JENA GRISWOLD, in her official capacity as Colorado Secretary of State,

        Defendant.


      BRIEF OF AMICI CURIAE BRENDA AND PAUL FREEBURN IN SUPPORT OF
                               DEFENDANT


        Brenda and Paul Freeburn, through undersigned counsel, respectfully submit the

 following amicus brief in support of Defendant and in opposition to Plaintiff’s Motion for

 Preliminary Injunction pending before the Court.

                                         INTRODUCTION

        Brenda Freeburn is the author of a letter to the editor cited by Plaintiffs as Exhibit 1 to

 their Complaint. Doc. 1, Exh. 1. The purpose of this amicus brief is to urge the Court to weigh

 the rights and interests of the Freeburns and the roughly 1.7 million unaffiliated Colorado voters

 who are currently authorized to vote in the 2022 primaries and to conclude that the public

 interest is not served by the preliminary injunction sought by Plaintiffs. Plaintiffs’ motion for

 preliminary injunction should be denied.
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 2 of 7




         The Freeburns are residents of Gunnison, Colorado. Prior to the passage of Proposition

 108, Ms. Freeburn typically registered to vote as a Republican and Mr. Freeburn typically

 registered to vote as a Democrat. In 2017, the Freeburns registered as unaffiliated in reliance on

 the passage of Proposition 108. They have maintained their unaffiliated status since 2017.

         Since the passage of Proposition 108, the Freeburns have voted in semi-open primary

 elections of one or the other major party as unaffiliated voters. As taxpaying citizens of

 Colorado, they enjoy their unaffiliated status, which allows them to vote in one of the major

 party semi-open primaries without being required to file with the state repeatedly to restore

 unaffiliated status.

         The Freeburns are not party “raiders”. They hold no motive other than their desire to

 exercise their legal right to vote in the upcoming primary. The Freeburns have been unaffiliated

 voters for five years since 2017. By contrast, Plaintiffs waited 5 months since the Republican

 State Central Committee voted not to opt out of a primary and voted to authorize litigation. See

 Doc. 26, Stip. of Facts at ¶ 1. At this late hour, Plaintiffs request that this Court re-write

 Colorado statutory law and restructure the primary election process in ways that are wholly

 unclear. The consequences of overturning the statutes implementing Proposition 108 surely will

 be detrimental to the unaffiliated voters state-wide who rely on the existing process as enacted by

 Proposition 108.

         Preliminary injunctions that upend the status quo are disfavored. Under the law

 governing preliminary injunctions, the Court should give great weight to the rights currently held

 by the Freeburns and other unaffiliated voters in determining whether a preliminary injunction
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 3 of 7




 serves the public interest and protects the status quo. If Plaintiffs prevail on their motion, the

 Freeburns and many others will lose their rights to maintain unaffiliated status and vote in one of

 the 2022 primaries. At a minimum, there will be confusion and chaos among unaffiliated voters

 due to an 11th hour change in Colorado election law.

         The public harm that an injunction would inflict on the 1.7 million unaffiliated Colorado

 voters including the Freeburns far outweighs Plaintiffs’ interest in obtaining an injunction at this

 late date.

                                                 ARGUMENT

         The Republican State Central Committee chose not to opt out of a primary. It therefore

 chose to allow unaffiliated voters to participate in its primary. The Freeburns object to Plaintiff’s

 request for the Court to interfere with the right of unaffiliated voters to participate in Colorado’s

 semi-open primary elections.

         1. The requested preliminary injunction is at odds with rights created by the procedure

              enacted by the State of Colorado and selected by the great majority of the Colorado

              Republican State Central Committee.

         The parties stipulate that in September of 2021, the Colorado Republican Party’s State

 Central Committee voted to hold a semi-open primary in 2022, and thus knowingly conveyed

 unaffiliated voters such as the Freeburns the right to help determine which Republican candidate

 will appear on the ballot in the general election. Doc. 26, Stip. of Facts at ¶2. In light of that vote,

 the Freeburns obtained a right to vote in the Republican primary if they wished. “It has been

 repeatedly recognized that all qualified voters have a constitutionally protected right to vote and

 to have their votes counted”. Reynolds v. Sims, 377 U.S. 533, 554 (1964) (citations omitted).

 The right to vote is regarded as a “fundamental political right,…preservative of all rights.” Yick
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 4 of 7




 Wo v. Hopkins, 118 U.S. 356, 370 (1886). “It is beyond cavil that ‘voting is of the most

 fundamental significance under our constitutional structure.’” Utah Republican Party v. Cox, 892

 F.3d 1066, 1076 (10th Cir. 2018) (quoting Burdick v. Takushi, 504 U.S. 428, 433 (1992)).

 Plaintiffs’ party knowingly granted the Freeburns and similarly unaffiliated voters a right to vote

 in the Republican party primary. While they may disagree with the vote of their party, Plaintiffs

 cannot to overturn the vote through these proceedings.

         Here, the statutes implementing Proposition 108, including those providing a political

 party with the choice to opt out of holding a primary, have been followed precisely as intended.

 “[W]hen the party’s actions turn outwards to the actual nomination and election of an individual

 who will swear an oath not the protect the Party, but instead to the Constitution, and when the

 individual ultimately elected has the responsibility to represent all the residents in his or her

 district, the state acquires a manifest interest in that activity, and the party’s interest in such

 activity must share the stage with the state’s manifest interest.” Cox, 892 F.3d at 1078. 1

         The vote of the members of the Colorado Republican Party’s State Central Committee in

 September of 2021 was in essence a vote to turn their party’s nomination process “outward” to

 include unaffiliated voters such as the Freeburns. Notwithstanding the decision of their party,

 Plaintiffs seek to disenfranchise the Freeburns and the scores of unaffiliated voters who similarly

 intend to vote in the 2022 primaries. The Plaintiffs’ requested relief puts the Freeburns’

 fundamental right to participate in the political process squarely at risk.




 1
  In a related challenge to the Utah statute at issue in Cox, the Utah District Court held a portion
 of the statute that required a party to allow unaffiliated voters to vote in its primary
 unconstitutional because it forced the party to associate with unaffiliated voters. Utah
 Republican Party v. Herbert, 144 F.Supp.3d 1263, 1271-1282 (D. Utah 2015). However, here
 there is no forced association at all. Here, the statutes implementing Proposition 108 permit a
 party to opt out of holding a semi-open primary and the Republican Party voted to not opt out.
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 5 of 7




           2. The Freeburns’ choice to vote in a party primary is itself an act of association that

              must be recognized.

           Plaintiffs claim that their First Amendment right of association is violated by allowing

 unaffiliated voters to vote in semi-open primaries. It has been recognized that the act of casting a

 ballot in primary election may “constitute a form of association that is at least as important as the

 act of registering.” Clingman v. Beaver, 544 U.S. 581, 600 (2005) (O'Connor, J., concurring). In

 her concurring opinion in Clingman, Justice O’Conner wrote that “[p]rimary voting is an

 episodic and sometimes isolated act of association, but it is a vitally important one and should be

 entitled to some level of constitutional protection.” Id. at 602. Plaintiffs give no consideration to

 the other forms and degrees of party association implicated by the current statutory scheme.

           Further, “anyone can join a political party merely by asking for the appropriate ballot at

 the appropriate a time.” Id. at 591 (citing California Democratic Party v. Jones, 530 U.S. 567,

 596 (2000)(Stevens, J., dissenting)). Prior to Proposition 108, the Freeburns would have been

 free to participate in the Republican primary by affiliating at the time they voted. Proposition 108

 simply allows the Freeburns to participate without changing registered affiliation, alleviating the

 potential confusion and administrative burden on the voters and the State created by the

 unnecessary switching of registered affiliation status of voters that prefer to maintain unaffiliated

 status.

           When viewed in this light, the Freeburns’ vote in the 2022 Republican primary is itself an

 act of association that the Court can and should consider when determining whether Plaintiffs are

 entitled to a preliminary injunction.
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 6 of 7




        3. The requested preliminary injunction is adverse to the public interest.

        In order to grant Plaintiffs’ motion for preliminary injunction, the Court must find among

 other things that that the injunction isn't “adverse to the public interest.” Beltronics USA, Inc. v.

 Midwest Inventory Distrib., LLC, 562 F.3d 1067, 1070 (10th Cir. 2009); Free the Nipple-Fort

 Collins v. City of Fort Collins, Colorado, 916 F.3d 792, 797 (10th Cir. 2019). A preliminary

 injunction is heavily disfavored where it upends the status quo. Free the Nipple-Fort Collins, 916

 F.3d at 797.

        It would be squarely against the public interest to potentially disenfranchise

 approximately 1.7 million Colorado voters. At a minimum, a preliminary injunction would

 throw the 2022 primary into chaos when it comes to the participation of currently unaffiliated

 voters and whether and how they are able to participate in the primaries. To preserve the

 Freeburns’ right to vote in the 2022 primaries as unaffiliated voters is to preserve the status quo.

        The Freeburns have relied on Proposition 108 since its passage in 2016 to vote in

 Colorado’s semi-open primaries as unaffiliated voters. Their right to vote in the 2022

 Republican Primary was confirmed when the party voted to hold a primary. Their reliance is well

 founded and should be recognized as the Court weighs whether to grant a preliminary injunction.

        The Freeburns respectfully urge the Court to weigh the harm to them and similarly

 situated unaffiliated voters if a preliminary injunction issued and to deny Plaintiffs’ motion.

                Respectfully submitted this 23rd day of March, 2022.


                                                        SAGAL LAW, LLC

                                                        s/ Roger Sagal
                                                        Roger Sagal
                                                        Sagal Law, LLC
                                                        241 S. Elizabeth Street
                                                        P.O. Box 1168
Case No. 1:22-cv-00477-JLK Document 40-1 filed 03/23/22 USDC Colorado pg 7 of 7




                                          Ridgway, CO 81432
                                          Telephone: (970) 596-4258
                                          Email: roger@sagalgroup.com
                                          Counsel to Amicus Curiae Brenda and Paul
                                          Freeburn
